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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH
   DAVID ZAMORA and GUMECINDO
   ZAMORA,

         Plaintiffs,
   v.

                                             OBJECTIONS TO PLAINTIFFS FIRST
   DOUGLAS QUEZADA,
                                              SET OF DISCOVERY REQUESTS
         Defendant.
                                                 Case No. 2:22-cv-00616-DBB
   DOUGLAS QUEZADA,
                                                    Judge: David Barlow
         Counterclaimant,
   v.


   DAVID ZAMORA and GUMECINDO
   ZAMORA,

         Counterclaim Defendants.
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         Defendant HQC        HQC                     its counsel of record, hereby responds
  to                                  David                                    Gumecindo

  (collectively, Plaintiffs   First Set of Discovery Requests as follows:

                                    GENERAL COMMENTS
         1.
  action and shall not be used for any other purpose. Furthermore, each Response is

  subject to all objections as to competence, relevance, materiality, propriety, and
  admissibility, and any and all other objections and grounds which would require the
  exclusion of any statement herein if the Discovery Requests were asked of, or any
  statements contained herein were made by, a witness present and testifying in court. All

  such objections and grounds are reserved and may be interposed at the time of trial.

         2.
  facts and circumstances relevant to the instant action. Discovery in this matter is

  continuing. Defendant has not completed her investigation of the facts and

  circumstances relating to this matter. Defendant has not completed discovery in this

  matter. Defendant has not completed preparation for trial in this matter. Accordingly,
  these Responses are made without prejudice to Defendant with respect to additional

  information discovered hereafter.

         3.     Subject to the foregoing objections and reservations, which are
  incorporated into the specific responses below as if set forth at length therein, the

  following Responses are provided based upon review of matters to date. The right to
  supplement the responses if and when additional responsive information is discovered

  and/or obtained is reserved.

                        DEFINITIONS OF SPECIFIC OBJECTIONS
         As used in the Specific Objections and Responses below, the following terms

  include objections based upon their respective definitions:
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         1.                                  is defined to mean: Defendant objects on the
  basis that, and insofar as, the Discovery Request is vague, uncertain, and too ambiguous

  to adequately describe what information is being sought or to allow the disclosure of
  such information with reasonable effort.
         2.                     is defined to mean: Defendant objects on the basis that, and
  insofar as, the information sought is overbroad and calls for an expansive potential

  breadth of information that is unreasonable in scope and parameter.
         3.                      is defined to mean: Defendant objects on the basis that,
  and insofar as, the Discovery Request seeks information irrelevant to the subject matter
  of this lawsuit.

         4.                     is defined to mean: Defendant objects on the basis that, and

  insofar as, the Discovery Request calls for information that is cumulative or duplicative
  of other discovery.

         5.                      is defined to mean: Defendant objects on the basis that the

  Discovery Request is so broad and uncertain that it creates an unreasonable and undue

  burden such that the burden or expense of the proposed discovery outweighs its likely
  benefit. Burdensome is also defined to mean that Defendant objects to the Discovery

  Request because the information sought is more readily obtainable through other, more

  convenient, less burdensome, and less expensive sources or discovery procedures. This
  includes in

  substantially similar access or ability to obtain.
         6.                     is defined to mean: Defendant objects on the basis that the

  Discovery Request is addressed to multiple distinct parties and is thus several

  Discovery Requests compounded in one, or that it contains multiple discrete subparts.
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         7.      Premature
  discovery is ongoing, and Defendant has not yet necessarily identified each and every

  document or item of information that is responsive to any particular Discovery Request.
         8.                  is defined to mean: Defendant objects on the basis that, and
  insofar as, the Discovery Request calls for information or documents (1) protected by
  the attorney-client privilege; (2) protected by the work-product doctrine; (3) protected

  because it consists, in whole or in part, of trial preparation materials and/or documents
  containing mental impressions, conclusions, opinions, or legal theories of counsel;
  and/or (4) protected under any other valid privilege.
         9.                         is defined to mean: Defendant objects on the basis and

  insofar as the discovery request calls for Defendant to reach a legal conclusion.

         10.    The phrase
               or words having similar effect, is defined to mean: Notwithstanding the

  fact that Defendant answers or provides information in response to a Discovery

  Request, he does not waive any objection that has been asserted.

                                   INTERROGATORIES
         INTERROGATORY NO. 1: Identify the state(s) in which HQC LLC has filed

  articles of organization, articles of formation, or other documents required to form a

  limited liability company or do business in the state.
         RESPONSE: Delaware.

         INTERROGATORY NO. 2: Identify each purchase and transaction in the HQC
  LLC bank account statements (DEF000132-511) that were made for HQC LLC business

  purposes. In doing so, provide the following information for each purchase and

  transaction: (a) state the date, description, and amount; (b) explain the purpose of the
  purchase or transaction; and (c) explain how it related to HQC LLC business.
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         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. None of the transactions in the HQC LLC bank account statements were to
  purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other purpose to
  benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional to the
  needs of the case.

         INTERROGATORY NO. 3: Identify each person by name, address, telephone
  number, and email address that has ever been an account holder, authorized user, joint
  user, authorized signer, secondary signer, or beneficiary on the HQC LLC bank account,
  and provide the date range for which each person had such status.

         RESPONSE: Douglas Quezada. Entire time period account was held.

         INTERROGATORY NO. 4: Explain why dozens of monetary transfers were made


  or other financial accounts during the time period reflected in DEF000132-511.

         RESPONSE:       Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
  evidence. None of the transactions in the HQC LLC bank account statements were to

  purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other purpose to

  benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional to the
  needs of the case.

         INTERROGATORY NO. 5: Explain why dozens of monetary transfers were made


  HQC LLC bank account during the time period reflected in DEF000132-511.

         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. None of the transactions in the HQC LLC bank account statements were to
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  purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other purpose to
  benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional to the

  needs of the case.
         INTERROGATORY NO. 4: Explain why monetary transfers were made out of the


  financial accounts during the time period reflected in DEF000132-511.

         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
  evidence. None of the transactions in the HQC LLC bank account statements were to
  purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other purpose to

  benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional to the

  needs of the case.
         INTERROGATORY NO. 5: Explain why dozens of monetary transfers were made



  the HQC LLC bank account during the time period reflected in DEF000132-511.

         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. None of the transactions in the HQC LLC bank account statements were to

  purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other purpose to
  benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional to the

  needs of the case.
         INTERROGATORY NO. 6:

  or which HQC LLC was obligated for between January 1, 2017 to December 31, 2021. In

  doing so, provide the name of the creditor, the name of the card, and the last four digits
  of the account number.
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         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. To the extent that HQC, LLC had credit cards, none of the transactions on those
  card(s) were to purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other
  purpose to benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional
  to the needs of the case.

                              REQUESTS FOR PRODUCTION
         REQUEST NO. 1: All non-privileged documents and communications that you
  identified, referred to, or relied upon in answering the Interrogatories served herewith.
         RESPONSE: No responsive documents exist.

         REQUEST NO. 2: All receipts, invoices, and other documents pertaining to any

  purchase, transfer, or other transaction reflected in DEF000132-511 that you contend was
  for an HQC LLC business purpose.

         RESPONSE:       Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. None of the transactions by HQC LLC were to purchase shares in Aurora
  Cannabis, Inc. for Plaintiffs, nor for any other purpose to benefit Plaintiffs. Beyond this,

  the responses are not relevant nor proportional to the needs of the case.

         REQUEST NO. 3: All communications pertaining to any purchase, transfer, or
  other transaction reflected in DEF000132-511 that you contend was for an HQC LLC

  business purpose.
         RESPONSE:       Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. None of the transactions by HQC LLC were to purchase shares in Aurora
  Cannabis, Inc. for Plaintiffs, nor for any other purpose to benefit Plaintiffs. Beyond this,

  the responses are not relevant nor proportional to the needs of the case.
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         REQUEST NO. 4: All documents and communications pertaining to the identity
  of each person who has been an account holder, authorized user, joint user, authorized

  signer, secondary signer, or beneficiary on the HQC LLC bank account.
         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
  evidence. This request is overbroad and burdensome to the extent it seeks every



         REQUEST NO. 5: All documents and communications pertaining to the identity
  of each person who has been issued or given an HQC LLC debit card, regardless of
  whether the card was in their name.

         RESPONSE: Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
  evidence. This request is overbroad and burdensome to the extent it seeks every



          REQUEST NO. 6: All documents and communications pertaining to any

  purchases or transactions made by Lauren Quezada between January 1, 2017 and
  December 31, 2021.

         RESPONSE:       Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
  evidence. This request is overbroad and burdensome as it seeks information about all of

                                           -year period, none of which bear any relation to
  this action.

         REQUEST NO. 7: All documents and communications pertaining to any

  purchases or transactions made by Douglas Quezada between January 1, 2017 and
  December 31, 2021.
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         RESPONSE:       Responding party objects that this request is not relevant or
  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. This request is overbroad and burdensome as it seeks information about all of
                                           -year period, none of which bear any relation to
  this action.
         REQUEST NO. 8: All documents and communications pertaining to any

  monetary transfers that were made between the HQC bank account and any bank
  account or other financial account belonging to Lauren Quezada, regardless of which part
  sent or received the money.
         RESPONSE:       Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible

  evidence. To the extent that HQC, LLC transferred funds to Lauren Quezada, none of the
  funds were to purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any other

  purpose to benefit Plaintiffs. Beyond this, the responses are not relevant nor proportional

  to the needs of the case.

         REQUEST NO. 9: All documents and communications pertaining to any
  monetary transfers that were made between the HQC bank account and any bank

  account or other financial account belonging to Douglas Quezada, regardless of which

  part sent or received the money.
         RESPONSE:       Responding party objects that this request is not relevant or

  proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
  evidence. To the extent that HQC, LLC transferred funds to Douglas Quezada, none of

  the funds were to purchase shares in Aurora Cannabis, Inc. for Plaintiffs, nor for any

  other purpose to benefit Plaintiffs. Beyond this, the responses are not relevant nor
  proportional to the needs of the case.
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        Dated this 23rd day of September 2024.
                                                 PIA HOYT, LLC

                                                 /s/ John P. Mertens______
                                                 Joseph G. Pia
                                                 John P. Mertens
                                                 Nediha Hadzikadunic
                                                 Attorneys for Plaintiffs
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                                     VERIFICATION
        I, Douglas Quezada, hereby swear or affirm that above interrogatory responses

  are true and correct to the best of my knowledge, information, and belief.

                                                  Dated September 23, 2024




                                                  _____________________________
                                                  Douglas Quezada


                               CERTIFICATE OF SERVICE
        I hereby certify that on September 23, 2024, a true and correct copy of the foregoing
  RESPONSES AND OBJECTIONS TO PLAINTIFFS FIRST SET OF DISCOVERY

  REQUESTS was delivered via email to the following:

        Stephen Kelson
        Steve.Kelson@chrisjen.com
        Matthew K. Strout
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        CHRISTENSEN & JENSEN, P.C.
        Attorneys for Plaintiff



                                                  /s/ Melanie Buervenich
                                                  Paralegal
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